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                                        Certificate Number: 03088-TXE-DE-037471021
                                        Bankruptcy Case Number: 23-40859


                                                      03088-TXE-DE-037471021




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on May 31, 2023, at 2:10 o'clock AM CDT, Christopher D Usrey
completed a course on personal financial management given by internet by Debt
Education and Certification Foundation, a provider approved pursuant to 11
U.S.C. 111 to provide an instructional course concerning personal financial
management in the Eastern District of Texas.




Date:   May 31, 2023                    By:      /s/Doug Tonne


                                        Name: Doug Tonne


                                        Title:   Counselor
